           Case 3:21-cr-00334-WHA Document 21 Filed 09/28/21 Page 1 of 1




                                  UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES

Date: September 28, 2021                    Time: 1:59 – 2:03                   Judge: William Alsup
                                                      = 4 minutes
Case No.: 21-cr-00334-WHA-1                 Case Name: United States v. Arnardo Doney Martinez

Attorney for Government: Sailaja Paidpaty
Attorney for Defendant: Ruben Torres Munoz
Defendant: [X] Present [ ] Not Present
Defendant's Custodial Status: [X] In Custody [ ] Not in Custody

Deputy Clerk: Tracy Geiger                                      Court Reporter: Belle Ball
Interpreter: Melinda Basker                                     Probation Officer: N/A


                                               PROCEEDINGS

    1. Initial Status Conference


                                                  SUMMARY

Government counsel informed the Court that they have recently received discovery from state
and will be providing that discovery and additional voluminous discovery to defense.


CASE CONTINUED TO: December 7, 2021 at 2:00 P.M., for Further Status Conference

---------------------------------------------------------------------------------------------------------------------
EXCLUDABLE DELAY: Government to prepare an exclusion order.
Category: Preparation of Counsel
Begins: September 28, 2021
Ends: December 7, 2021
---------------------------------------------------------------------------------------------------------------------

( ) That the court determined that the court has approved restraints (where applicable).
